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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION




 UNITED STATES OF AMERICA,                    )   CASE NO.: 1:15-CV-01046
                                              )
               Plaintiff,                     )
                                              )   JUDGE SOLOMON OLIVER, JR.
       vs.                                    )
                                              )   NOTICE SUBMITTING THE
CITY OF CLEVELAND                             )   MONITORING TEAM’S ELEVENTH
                                              )   SEMIANNUAL REPORT
               Defendant.                     )
                                              )
                                              )


       The Monitoring Team respectfully submits its Eleventh Semiannual Report pursuant to

Paragraph 375 of the Consent Decree.

                                                  Respectfully submitted,

                                                  /s/ Hassan Aden

                                                  HASSAN ADEN
                                                  Monitor
                                                  The Aden Group LLC
                                                  8022 Fairfax Road
                                                  Alexandria, VA 22308
                                                  Tel: (571) 274-7821
                                                  Email: aden@theadengroup.com
     Case: 1:15-cv-01046-SO Doc #: 440 Filed: 09/22/22 2 of 2. PageID #: 9712




                              CERTIFICATE OF SERVICE

       I hereby certify that on September 22, 2022, I served the foregoing document entitled

Notice Submitting the Monitoring Team’s Eleventh Semiannual Report via the court’s ECF system

to all counsel of record.




                                                  /s/ Ayesha Bell Hardaway
                                                  AYESHA Bell HARDAWAY




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